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Form NTC23 (12/08)
                                                United States Bankruptcy Court
                                                 Western District of Michigan
                                                     One Division Ave., N.
                                                           Room 200
                                                    Grand Rapids, MI 49503


 IN RE: Debtor(s) (name(s) used by the debtor(s) in the last 8
 years, including married, maiden, trade, and address):
                                                                          Case Number 09−08945
           Nancy Morgan
           208 E. Santee Hwy                                              Chapter 7
           Charlotte, MI 48813
           SSN: xxx−xx−0680
                                                           Debtor(s)



                                  NOTICE OF REQUIREMENT TO FILE A
                               STATEMENT OF COMPLETION OF COURSE IN
                                  PERSONAL FINANCIAL MANAGEMENT
                                          (Official Form 23)

    Notice is hereby given that, subject to limited exceptions, a debtor must complete an instructional course
in personal financial management in order to receive a discharge. (11 U.S.C. § 727, § 1328 and §
1141(d)(3)). Pursuant to Rule 1007(b)(7) of the Interim Rules of Bankruptcy Procedure, the debtor(s) must
complete and file Debtor's Certification of Completion of Instructional Course Concerning Personal
Financial Management (Official Form 23)* as described in 11 U.S.C. § 111 along with the actual certificate
furnished by the approved personal financial management instruction provider.

    Debtor(s) and/or debtor(s) attorney is/are hereby notified that Official Form 23 must be filed before a
discharge can be entered. Please note that in a Chapter 7 proceeding, the debtor(s) and/or debtor(s)
attorney is/are hereby notified that the debtor(s) must file Official Form 23 within 45 days after the first date
set for the meeting of creditors under Section 341. In a Chapter 13 and Chapter 11, Official Form 23 must
be filed no later than the last payment made by the debtor(s) as required by the plan or the filing of a
motion for entry of a discharge pursuant to § 1328(b).




Dated: July 29, 2009

*NOTE: Official Interim Form 23 (Debtor's Certification of Completion of Instructional Course Concerning Personal Financial
Management) must be filed in all individual chapter 13, chapter 7, and chapter 11 cases even if the U.S. Trustee has not
approved any credit counseling agency or financial management course for the applicable district. See Interim Rule 1007(b)(7).


1 Aliases for Debtor Nancy Morgan : aka Nancy Mckeague
